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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )            Case No. 8:03CR263
                                               )
                       Plaintiff,              )
                                               )
       v.                                      )                    ORDER
                                               )
TAMMY L. LUSTER,                               )
                                               )
                       Defendant.              )


       IT IS ORDERED that jury trial for the defendant, Tammy L. Luster, is scheduled before the
undersigned in Courtroom No. 3, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, on April 3, 2006, at 8:30 a.m. Pretrial motions must be filed by close of
business on February 24, 2006.
       The time between February 7, 2006 and April 3, 2006 shall be deemed excludable time in
any computation of time under the requirement of the Speedy Trial Act, for the reason that
defendant's counsel requires additional time to adequately prepare the case, taking into
consideration due diligence of counsel and the novelty and complexity of this case, and the failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       Since this is a criminal case, the defendant shall be present, unless excused by the
court. If an interpreter is required, one must be requested by the plaintiff in writing five (5) days in
advance of the scheduled hearing.
       DATED this 7th day of February, 2006.
                                               BY THE COURT:


                                                s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               United States District Judge
